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3
     Attorney for defendant,
4    Teresa Morales
5
                                   UNITED STATES DISTRICT COURT
6
                           FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                     )                    Case No. CR S 07–00314 LKK
     UNITED STATES OF AMERICA,        )
9                                     )                    STIPULATION AND ORDER
                Plaintiff,            )                    CONTINUING STATUS CONFERENCE
10                                    )                    AND EXCLUDING TIME
          vs.                         )
11   TERESA MARIA MORALES, ENRIQUE    )
     MORALES, JOSE LUIS MORALES, JUAN )
12                                    )
     MORALES, and PETRA PRECIADO
     MORALES,                         )
13                                    )
                Defendants.           )
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15          The parties hereby stipulate to the following:

16          A status conference is presently set for November 19, 2013. Counsel are continuing to
17   review, index, and summarize the 10,000 (approx.) new pages of discovery. Additionally,
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     counsel are attempting to reach a resolution of this matter. Therefore, the parties request and
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     stipulate that the status conference be continued to January 14, 2014. The parties further stipulate
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     that time continue to be excluded until the January 14, 2014 status conference due to preparation
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     of counsel (Local Code T4), and that the interests of justice in excluding time outweigh the
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23   interests of the defendants and the public in a speedy trial.

24   DATED: November 15, 2013                                /s/ Timothy E. Warriner, Attorney for Teresa
                                                             Morales
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     DATED: November 15, 2013                              /s/ Bruce Locke, Attorney for Enrique
1
                                                           Morales
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3    DATED: November 15, 2013                              /s/ Dina Santos, Attorney for Jose Luis
                                                           Morales
4
     DATED: November 15, 2013                              /s/ Kelly Babineau, Attorney for Juan
5                                                          Morales
6
     DATED: November 15, 2013                              /s/ Donald P. Dorfman, Attorney for Petra
7                                                          Preciado Morales

8    DATED: November 15, 2013                              /s/ Kyle Reardon, Assistant U.S. Attorney

9                                                  ORDER
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             GOOD CAUSE APPEARING, it is hereby ordered that the status conference now set for
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     November 19, 2013 be continued to January 14, 2014 at 9:15 a.m. It is further ordered that time
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     continue to be excluded to January14, 2014 for preparation of counsel pursuant to 18 U.S.C.
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     3161(h)(7)(B)(iv) and Local Code T4. Pursuant to the stipulation of the parties, the court finds
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     that the interests of justice in excluding time outweigh the interests of the defendants and the

16   public in a speedy trial.

17   DATED: November 18, 2013
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